        Case 1:20-cv-01234-TWT Document 26 Filed 11/18/20 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

MICHAEL ESTRADA,

      Plaintiff,                                            Civil Action File No.
                                                            1:20-cv-01234-TWT

v.

BEALL’S, INC. a Foreign Profit
Corporation, d/b/a Beall’s; BEALL’S
OUTLET STORES, INC., a Foreign
Profit Corporation, d/b/a Beall’s Outlet,

     Defendants.
____________________________________________________/

                     JOINT STIPULATION AND ORDER
                     FOR DISMISSAL WITH PREJUDICE

      The parties to this action, through counsel, and pursuant to Federal Rule of

Civil Procedure 41 (a)(1)(A)(ii), hereby stipulate, in consideration of a negotiated

settlement executed by them, to the dismissal With Prejudice of this action, including

all claims stated herein against all parties, with each party to bear its own attorneys’

fees and costs.

Dated: November 17, 2020

By:   /s/ Jacob R. Dean                               /s/ Matthew N. Pope
      Jacob R. Dean, Esq.                             Matthew N. Pope, Esq.
      Georgia Bar No. 180545                          Georgia Bar No. 584216
      deanj@gtlaw.com                                 matt@mpopelaw.com
      Natasha L. Wilson, Esq.
      Georgia Bar No. 371233
 Case 1:20-cv-01234-TWT Document 26 Filed 11/18/20 Page 2 of 4




wilsonn@gtlaw.com

GREENBURG TRAURIG LLP                   MATTHEW N. POPE, P.C.
3333 Piedmont Road NE, Suite 2500       900 2nd Avenue
Atlanta, Georgia 30303                  Columbus, Georgia 31902
Telephone: (678) 553-2100               Tel. (706) 324-2521
Facsimile: (678) 553-2212               Facsimile: (706) 324-0466

Attorneys for Defendants                Attorneys for Plaintiff




                              2
        Case 1:20-cv-01234-TWT Document 26 Filed 11/18/20 Page 3 of 4




                                      ORDER

      The stipulation is approved. The entire action, including all claims and

counterclaims stated herein against all parties, is hereby dismissed with prejudice.

      IT IS SO ORDERED, this ______ day of ______________, 2020.



                                       ____________________________________
                                       UNITED STATES DISTRICT JUDGE




                                          3
Case 1:20-cv-01234-TWT Document 26 Filed 11/18/20 Page 4 of 4
